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CRAIG CUNNINGHAM, YL
Plaintiff,

v.
Civil Case No. \X »Q V/\ gi>»t?
ASI, LLC, Donald Cross, Brixum Beneficial,
Gina Bennett, Robert Weiss, AVG Financial,
Michael Ashbeny, and John/Jane Does 1-5

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Defendant

 

 

 

 

Plaintift’s Original Complaint

Parties

1. The Plaintift` is Craig Cunningham and natural person and Was present in Texas for all
calls in this case in Collin County.

2. ASI, LLC is a Wy'oming corporation that can be served via Registered agent and
corporate officer Donald Cross at 2740 Coulter Ln, Gillette, WY 82716

3. Donald Cross is a natural person and can be served at 2740 Coulter Ln, Gillette, WY
827 1 6.

4. Robert Weiss is a natural person and corporate officer of ASI, LLC and can be served
at 2740 Coulter Ln., Gillette, WY 82716.

5. Brixum Beneflcial is an Arizona Trade name and legal entity and can be served at 835
W Warner Road ste 101-613 or via corporate officer Gina Bennett 290 W. Windsor
Dr., Gilbert, AZ 85233 or 1281 E Marcella Ln Gilbert, AZ 85295.

6. AVG Financial is an Arizona entity that can be served at 2030 West Baseline Road,

 

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ste 182-735 Phoenix, AZ 85041 and can be served via corporate officer Michael
Ashberry 722 W Milada Dr. Phoenix, AZ 85041
Michael Ashberry is a natural person and owner of AVG Financial and can be served

at 722 W. Milada Dr., Phoenix, AZ 85041.

. John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.

JURISDICTION AND VENUE
lunsdictLon. This Court has federal-question subject matter jurisdiction over
Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal
statute. .Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has
supplemental subject matter jurisdiction over Plajnt:iff’s claim arising under Texas
Business and Commerce Code 305.053 because that claim: arises from the same
nucleus of operative fact, i.e., Defendants’ telemarketing robocalls to Plaintiff; adds
little complexity to the case; and doesn’t seek money damages, so it is unlikely to
predominate over the TCPA claims.
Le[s_an_aj_lur;is_dictign. This Court has general personal jurisdiction over the
defendant because the company is headquarted in Wyoming and the other named
corporations have contracted with ASI, LLC to launder money through the ASI’s
merchant and bank accounts
leng_¢;. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
because a substantial part of the events giving rise to the claims_the calls and sale of
goods and services directed originated in Wyoming and the defendants reside in this
district or contracted with Wyoming entities to launder money.

THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

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12. In 1991, Congress enacted the TCPA in response to a growing number of consumer
complaints regarding telemarketing.

13. The TCPA makes it unlawful “to make any call (other than a call made for emergency
purposes or made with the prior express consent of the called party) using an
automatic telephone dialing system or an artificial or prerecorded voice to any
telephone number assigned to a cellular telephone service.” 47 U.S.C. §

227(b)(l )(A)(iii).

14. The TCPA makes it unlawful “to initiate any telephone call to any residential
telephone line using an artificial or prerecorded voice to deliver a message without
the prior express consent of the called party, unless the call is initiated for emergency
purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by
the United States, or is exempted by rule or order” of the Federal Communication
Commission (“FCC”). 47 U.S.C. § 227(b)(l)(B).

15. The TCPA provides a private cause of action to persons who receive calls in violation
of § 227(b). 47 U.S.C. § 227(b)(3).

16. Separately, the TCPA bans making telemarketing calls without a do-not-call policy
available upon demand 47 U.S.C. § 227(0); 47 C.F.R. § 64.1200(d)(l).l

17. The TCPA provides a private cause of action to persons who receive calls in
violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(0)(5).

18. According to findings of the FCC, the agency vested by Congress with authority to

issue regulations implementing the TCPA, automated or prerecorded telephone calls

 

l See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
(codifying a June 26, 2003 FCC order).

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are a greater nuisance and invasion of privacy than live solicitation calls and can be
costly and inconvenient

The FCC also recognizes that “wireless customers are charged for incoming calls
whether they pay in advance or after the minutes are used.” ln re Rules and
Regulations Implementing the Tel. Consumer Prot. Act of 1 991 , 18 FCC Rcd. 14014,
14115 11 165 (2003).

The FCC requires “prior express written consent” for all autodialed or prerecorded
telemarketing robocalls to wireless numbers and residential lines. In particular:[A]
consumer’s written consent to receive telemarketing robocalls must be signed and be
suiiicient to show that the consurner: (1) received clear and conspicuous disclosure
of the consequences of providing the requested consent, i.e., that the consumer will
receive future calls that deliver prerecorded messages by or on behalf of a specific
seller; and (2) having received this information, agrees unambiguously to receive
such calls at a telephone number the consumer designates In addition, the Written
agreement must be obtained without requiring, directly or indirectly, that the
agreement be executed as a condition of purchasing any good or service
In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
1991, 27 FCC Rcd. 1830, 1844 11 33 (2012) (footnote and internal quotation marks
omitted). FCC regulations “generally establish that the party on whose behalf a
solicitation is made bears ultimate responsibility for any violations.” In the Matter of
Rules and Regulations Implementing the Tel. Consumer Prot. Acl 0f]991, 10 FCC
Rcd. 12391, 12397 1[ 13 (1995).

The FCC confirmed this principle in 2013, when it explained that “a seller may be

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held vicariously liable under federal common law principles of agency for violations
of either section 227(b) or section 227(c) that are committed by third-party
telemarketers.” fn the Matter of the Joint Petition Filed by Dish Nerwork, LLC, 28
FCC Rcd. 6574, 6574 11 1 (2013).
Under the TCPA, a text message is a call. Satte)feld v. Simon & Schuster, Inc., 569
F.3d 946, 951 - 52 (9th Cir. 2009).
A corporate officer involved in the telemarketing at issue may be personally liable
under the TCPA. E.g., Jackson Five Star Catering, lnc. v. Beason, Case No. 10-
10010, 2013 U.S. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[M]any
courts have held that corporate actors can be individually liable for violating the
TCPA where they had direct, personal participation in or personally authorized the
conduct found to have violated the statute.” (internal quotation marks omitted));
Ma)yland v. Universal Elections, 787 F. Supp. 2d 408, 415 - 16 (D. Md. 2011) (“If
an individual acting on behalf of a corporation could avoid individual liability, the
TCPA would lose much of its force.”).

The Texas Business and Commerce Code 305.053
The Texas Business and Commerce code has an analogus portion that is related to the
TCPA and was violated in this case.
The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or
subchapter A and seek $500 in statutory damages or $1500 for willful or knowing
damages

FACTUAL ALLEGATIONS

27. Rachel with Card Services is the bane of the existance of many consumers These are

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calls long since prosecuted by the FTC that make fraudulent, misleading, false
promises and exaggerated claims to consumers These scams have taken place for
years and continue to this day. ASI, LLC, Donald Cross, Brixum Beneficial, Gina
Bennett, Robert Weiss, AVG Financial, and Michael Ashberry are ringleaders of this
scam and have called thousands of consumers including the Plaintiff in violation of
the TCPA.
The calls alleged were placed by or on behalf of Brixum Beneficial, Gina Bennett,
AVG Financial, and ~Michael Ashberry. Michael Ashberry controlled AVG Financial
and directed agents of AVG Financial to place illegal robocalls to the Plaintiff in this
case without consent and not related to any emergency purpose as alleged in this
complaint . Gina Bennett controlled Brixum Benefrcial and directed agents of
Brixum to place calls to the Plaintist cell phone without consent and not related to
any emergency purpose as alleged in this complaint

ASI, LLC, Donald Cross, and Robert Weiss TCPA violations
Mr. Cunningham received multiple calls from a variety of spoofed caller ID’s that
contained a pre-recorded message and were initiated using an automated telephone
dialing system. The calls were on behalf of ASI, LLC, Donald Cross, Brixum
Beneiicial, Gina Bennett, Robert Weiss, AVG Financial, and Michael Ashberry.
From May 2017 through July 2017, the Plaintiff recieved multiple calls from multiple
spoofed or non-working caller ID’s all designed to trick consumers into picking up
the phone by using false, misleading, and fraudulent caller ID’s. These calls were not
related to an emergency purpose or any consent provided by the Plaintiff.

An example of a pre-recorded message was “We have made several attempts to reach

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you. T his is your final courtesy call before we are unable to lower your credit card
interest rates. Press 1 to speak to the member services department or press 2 and
your eligibility to lower your rates will expire ” This call was from 800-945-2000,
which is actually the phone number for Chase Bank to 615-348-1977 on 5/3/2017

In total, the Plaintiff received at least 17 calls by or on behalf of ASI, LLC, Donald
Cross, Brixum Beneficial, Gina Bennett, Robert Weiss, AVG Financial, and Michael
Ashberry.

On May 4, 2017, the Plaintiff had a charge appear on his credit card from ASI, LLC
in the amount of $1,295 for the card ending in 5015 (See Screenshot Ex A). The
Plaintiff never authorized this charge by ASI, LLC and never spoke or interacted with
anyone associated with ASI, LLC before the charge was made. The $ 1295 charge
corresponds to an amount the individuals with “card services” claimed to charge the
Plaintiff,‘ on a telephone call on 5/12/2017 which links the calls to the charge from
ASI, LLC.

Alleged Calls

 

Dale ClD Ca|ls to 61 5-348-1 977

 

05/03/201 7

800-945-2000

 

05/09/201 7

91 6-581 -2626

 

05/12/2017

888-907-1 285

 

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06/24/201 7

 

800-945-2000

 

 

 

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07/1 7/2017 855-858-0707
07/26/2017 855-858-0707

 

 

 

 

 

 

34. 0n 5/5/2017, the Plaintiff called 307-680-0541 a number associated with ASI, LLC
and spoke directly with Donald Cross regarding the charge on his credit card. Donald
indicated that “We use the telemarketers and they do a lot of dinerent things T hey do
reduction of credit card fees. T hey do timeshares... We just use some telemarketers
and they basically bill through us. ” Indicating his knowledge of the telemarketers
placing calls on behalf of ASI, LLC for debt relief services

ASI, LLC, Donald Cross, and Robert Weiss knowing and Willful Telemarketing
regulation violations

35 . On information and belief, Donald Cross, Robert Weiss, and ASI, LLC and did not
have a written do-not-call policy while it was sending calls to Mr. Cunningham

36. On information and belief, Donald Cross, Robert Weiss, and ASI, LLC did not train
its agents engaged in telemarketing on the existence and use of any do-not-call list.

37. Calls on behalf of Donald Cross, Robert Weiss, and ASI, LLC did not provide Mr.
Cunningham with the name of the individual caller or the name of the person or entity
on whose behalf the call was being made.

38. Each and every call placed on behalf of and for the benefit of Donald Cross, Robert
Weiss, and ASI, LLC .

39. Mr. Cunningham has a limited data plan. lncoming text messages chip away at his
monthly allotment

40. Mr. Cunningham has limited data storage capacity on his cellular telephone

lncoming calls from Donald Cross, Robert Weiss, and ASI, LLC consumed part of

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this capacity.
No emergency necessitated the calls
Each call was sent by an ATDS.
Donald Cross and Robert Weiss’ Control over ASI, LLC ,, Including its Illegal
Robocalling and Telemarketing
At all times relevant to the claims alleged herein, Donald Cross and Robert Weiss,
and were the only corporate officers and executive in charge of ASI, LLC . Each and
every call was placed on behalf of the corporate entites owned by Donald Cross, and
Robert Weiss
Donald Cross and Robert Weiss were aware that ASI, LLC was sending automated,
telemarketing text messages en masse to people, including Plaintiff, who had not
requested to be contacted by ASI, LLC
As ASI, LLC’s, senior-most executive, Donald Cross and Robert Weiss had the
power to stop these spam campaigns
As ASI, LLC’s, senior-most executive, Donald Cross and Robert Weiss had the
power to fire the managers and employees taking part of the day-to-day operations of
these illegal robocalling operations
Instead, Donald Cross and Robert WEiss allowed the calls to continue and the
responsible managers to keep their jobs-despite his knowledge of frequent do-not-
call complaints from recipients of these messages, including the Plaintiff

Violations of the Texas Business and Commerce Code 305.053
The actions of Donald Cross and Robert Weiss and ASI, LLC, violated the Texas

Business and Commerce Code 305.053 by placing automated calls to a cell phone

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which violate 47 USC 227(b). The calls by Donald Cross and Robert Weiss and ASI,
LLC, and his entities violated Texas law by placing calls with a pre-recorded message
to a cell phone which violate 47 USC 227(0)(5).

49. The calls by JeffLakes violated Texas law by spoofing the caller ID’s per 47 USC

227(c) which in turn violates the Texas statute

I. FIRST CLA]M FOR RELIEF
(Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(l)(A))

(Against All Defendants)
l. Mr. Cunningham realleges and incorporates by reference each and every
allegation set forth in the preceding paragraphs
2. The foregoing acts and omissions of Defendants and/or their affiliates or

agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(l)(A), by making
non-emergency telemarketing robocalls to Mr. Cunningham’s cellular telephone number

without his prior express written consent

3. Mr. Cunningham is entitled to an award of at least $500 in damages for
each such violation. 47 U.S.C. § 227(b)(3 )(B).

4. Mr. Cunningham is entitled to an award of up to $l,500 in damages for
each such knowing or willful violation 47 U.S.C. § 227(b)t3).

5. Mr. Cunningham also seeks a permanent injunction prohibiting

Defendants and their affiliates and agents from making non-emergency telemarketing

robocalls to cellular telephone numbers without the prior express written consent of the

called party.

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II. SECOND CLAIM FOR RELIEF
(Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))
(Against All Defendants)
6. Mr. Cunningham realleges and incorporates by reference each and every
allegation set forth in the preceding paragraphs
7. The foregoing acts and omissions of Defendants and/or their affiliates or
agents constitute multiple violations of FCC regulations by making telemarketing
solicitations despite lacking:
a. a written policy, available upon demand, for maintaining a do-not-
call list, in violation of 47 C.F.R. § 64.1200(d)(1);2
b. training for the individuals involved in the telemarketing on the
existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,
c. in the solicitations the name of the individual caller and the name
of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §
64. 1200(d)(4).4
8. Mr. Cunningham is entitled to an award of at least $500 in damages for
each such violation. 47 U.S.C. § 227(c)(5)(B).
9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

each such knowing or willful violation 47 U.s.c. § 227(c)(5).

 

2 See id. at 425 (codifying a June 26, 2003 FCC order).
3 See id. at 425 (codifying a June 26, 2003 FCC order).
4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).

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10. Mr. Cunningham also seeks a permanent injunction prohibiting

Defendants and their affiliates and agents from making telemarketing solicitations until
and unless they (1) implement a do-not-call list and training thereon and (2) include the

name of the individual caller and ASI, LLC’s name in the solicitations

IlI.TH]RD CLAIM FOR REL[EF: Violations of The Texas Business and

Commerce Code 305.053

ll. Mr. Cunningham realleges and incorporates by reference each and every
allegation set forth in the preceding paragraphs

12. The foregoing acts and omissions of Defendants and/or their affiliates or
agents constitute multiple violations of the Texas Business and Commerce Code
305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham’s
cellular telephone number without his prior express written consent in violation of 47
USC 227 et seq.

13. Mr. Cunningham is entitled to an award of at least $500 in damages for
each such violation.Texas Business and Commerce Code 305.053(b)

14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

each such knowing or willful violation Texas Business and Commerce Code

305.053(¢).

IV. PRAYER FOR RELIEF
WHEREFORE, Plaintiff Crai g Cunningham prays for judgment against
Defendant ASI, LLC, Donald Cross, Brixum Beneficial, Gina Bennett, Robert Weiss,

AVG Financial, Michael Ashberry, , LLC, jointly and severally as follows:

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A. Leave to amend this Complaint to name additional DOESs as they are

identified and to conform to the evidence presented at trial;

B. A declaration that actions complained of herein by Defendants violate the
TCPA and Texas state law;
C. An injunction enjoining Defendants and their affiliates and agents from

engaging in the unlawiill conduct set forth herein;

D. An award of $3000 per call in statutory damages arising from the TCPA
intentional violations jointly and severally against the corporation and individual forl7
calls

E. An award of $l,500 in statutory damages arising from violations of the

Texas Business and Commerce code 305 .053

F. An award to Mr. Cunningham of damages, as allowed by law under the
TCPA;

G. An award to Mr. Cunningham of interest, costs and attorneys’ fees, as
allowed by law and equity

H. Such further relief as the Court deems necessary, just, and proper.

  

ral
Plaintif`f,

Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075

October 3 l, 2018

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-' CORNERSTONE

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from its headquarters in |rvine, CA. Through common sense underwriting and straightforward business
practices we proud|y maintain one ofthe largest portfolios of business loans in the private sector.

How Does lt Work?

We know that no two businesses are exactly alike, and we will customize all proposals to your company's
specific needs and qualifications Our financial products fit into several categories

1) Working Capita| -Typica||y used for expansion remodeling, purchasing inventory, advertising
or paying personal debt taken for the business Terms range from 6-36 months and can be
structured with fixed payments or revenue payments

2) Line of Credit - Used for smaller projects and temporary cash crunches. Lines of credit are a
great tool for any business owner. You choose how much of your line to take, and only pay for the
funds you use.

3) Collatera| financing - Used to acquire new equipment or borrow against assets already
owned. These programs are typically structured for 2-7 years and payments are made by fixed
monthly payments

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